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 4
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 6   the Proposed Class

 7                       UNITED STATES DISTRICT COURT
 8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9   RYAN MCGOWAN, individually and
10   on behalf of all others similarly             Case No.
     situated,
11                                                 COMPLAINT FOR:
12                       Plaintiff,
                                                      1. VIOLATIONS OF THE
13         v.
                                                         TELEPHONE CONSUMER
14                                                       PROTECTION ACT, 47
15   A-LIST MARKETING SOLUTIONS                          U.S.C. § 227(b)
     INC. d/b/a SAFEGUARD
16   SOLUTIONS
                                                   Class Action
17
                         Defendant.
18                                                 DEMAND FOR JURY TRIAL
19
20
           Plaintiff Ryan McGowan (“Plaintiff”) by their undersigned counsel, for this
21
22   class action complaint against A-List Marketing Solutions Inc. d/b/a SafeGuard
23   Solutions and its present, former, or future direct and indirect parent companies,
24
     subsidiaries, affiliates, agents, and/or other related entities (“SafeGuard Solutions”
25
26   or “Defendant”), allege as follows:
27
28



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 1                               I.            INTRODUCTION
 2
           1.     Nature of Action. Plaintiff, individually and as class representative
 3
 4   for all others similarly situated, brings this action against SafeGuard Solutions for
 5   violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).
 6
     SafeGuard Solutions engaged in automated telemarketing in violation of the TCPA
 7
 8   using pre-recorded messages that were sent to cellular telephones.
 9
           2.     SafeGuard also made multiple calls to individuals who had previously
10
11   indicated their desire to not receive solicitation calls by listing their number on the
12
     National Do Not Call Registry, as Plaintiff did.
13
           3.     Because telemarketing campaigns generally place calls to hundreds of
14
15   thousands or even millions of potential customers en masse, Plaintiff brings this
16
     action on behalf of a proposed nationwide class of other persons who received
17
18   illegal telemarketing calls from or on behalf of Defendant.
19
                                         II.   PARTIES
20
           4.     Plaintiff Ryan McGowan is an individual.
21
22         5.     Defendant A-List Marketing Solutions Inc. d/b/a SafeGuard Solutions
23
     is a California corporation and has a principal place of business of 12900 Garden
24
25   Grove Blvd # 214, Garden Grove, CA 92843.
26
           6.     SafeGuard Solutions engages in telemarketing from this District, as it
27
     did with the Plaintiff.
28



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 1                          III. JURISDICTION AND VENUE
 2           7.    Jurisdiction. This Court has subject matter jurisdiction over Plaintiff’s
 3
     TCPA claims pursuant to 28 U.S.C. § 1331 because Plaintiff’s TCPA claims arise
 4
 5   under the laws of the United States, specifically, 47 U.S.C. § 227.
 6
             8.    Personal Jurisdiction. This Court has personal jurisdiction over
 7
 8   SafeGuard Solutions because a substantial part of the wrongful acts alleged in this
 9   Complaint were committed from California. Furthermore, SafeGuard Solutions is a
10
     resident of this District.
11
12           9.    Venue. Venue is proper in this District pursuant to 28 U.S.C. §
13
     1391(b)(1)-(2) because a substantial part of the events giving rise to Plaintiff’s
14
15   claims occurred from this District.
16
17     IV.    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47
18                                         U.S.C. § 227
19
20           10.   In 1991, Congress enacted the TCPA in response to a growing number

21   of consumer complaints regarding certain telemarketing practices.
22
             11.   The TCPA makes it unlawful “to make any call (other than a call
23
24   made for emergency purposes or made with the prior express consent of the called
25   party) using an automatic telephone dialing system or an artificial or prerecorded
26
     voice … to any telephone number assigned to a … cellular telephone service.” 47
27
28   U.S.C. § 227(b)(1)(A)(iii). The TCPA provides a private cause of action to


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 1   persons who receive calls in violation of Section 227(b)(1)(A). 47 U.S.C. §
 2   227(b)(3).
 3
           12.    According to findings by the Federal Communication Commission
 4
 5   (“FCC”), the agency Congress vested with authority to issue regulations
 6
     implementing the TCPA, such calls are prohibited because, as Congress found,
 7
 8   automated or prerecorded telephone calls are a greater nuisance and invasion of
 9   privacy than live solicitation calls, and such calls can be costly and inconvenient.
10
           13.    The FCC also recognized that “wireless customers are charged for
11
12   incoming calls whether they pay in advance or after the minutes are used.” In re
13
     Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, CG
14
15   Docket No. 02-278, Report and Order, 18 FCC Rcd. 14014, 14115 ¶ 165 (2003).
16         14.    In 2013, the FCC required prior express written consent for all
17
     autodialed or prerecorded telemarketing calls (“robocalls”) to wireless numbers
18
19   and residential lines. Specifically, it ordered:
20
           [A] consumer’s written consent to receive telemarketing robocalls
21         must be signed and be sufficient to show that the consumer: (1)
22         received “clear and conspicuous disclosure” of the consequences of
           providing the requested consent, i.e., that the consumer will receive
23         future calls that deliver prerecorded messages by or on behalf of a
24         specific seller; and (2) having received this information, agrees
           unambiguously to receive such calls at a telephone number the
25         consumer designates. In addition, the written agreement must be
26         obtained “without requiring, directly or indirectly, that the agreement
           be executed as a condition of purchasing any good or service.”
27
28



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 1   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
 2   1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote omitted).
 3
           15.    Section 227(c) of the TCPA requires the FCC to “initiate a
 4
 5   rulemaking proceeding concerning the need to protect residential telephone
 6
     subscribers’ privacy rights to avoid receiving telephone solicitations to which they
 7
 8   object.” 47 U.S.C. § 227(c)(1).
 9         16.    The National Do Not Call Registry allows consumers to register their
10
     telephone numbers and thereby indicate their desire not to receive telephone
11
12   solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).
13
           17.    A listing on the Registry “must be honored indefinitely, or until the
14
15   registration is cancelled by the consumer or the telephone number is removed by
16   the database administrator.” Id.
17
           18.    The TCPA and implementing regulations prohibit the initiation of
18
19   telephone solicitations to residential telephone subscribers to the Registry and
20
     provides a private right of action against any entity that makes those calls, or “on
21
22   whose behalf” such calls are made. 47 U.S.C. § 227(c)(5); 47 C.F.R.
23   § 64.1200(c)(2).
24
25
                             V.FACTUAL ALLEGATIONS
26
27         19.    SafeGuard Solutions offers warranty services.
28



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 1         20.    One of SafeGuard Solutions’s strategies for marketing its services and
 2   generating new customers is telemarketing.
 3
           21.    SafeGuard Solutions’s telemarketing includes the use of pre-recorded
 4
 5   messages to generate new business.
 6
           22.    Recipients of these calls, including Plaintiff, did not consent to receive
 7
 8   such telephone calls.
 9         23.    Plaintiff is, and at all times mentioned herein was, a “person” as
10
     defined by 47 U.S.C. § 153(39).
11
12   Calls to Plaintiff
13
           24.    Plaintiff’s telephone number, (716)-868-XXXX, is registered to a
14
15   cellular telephone service.
16         25.    The number is a residential line.
17
           26.    It is not associated with a business and is used by Mr. McGowan only.
18
19         27.    The telephone number has been on the National Do Not Call Registry
20
     for more than 31 days prior to the calls at issue.
21
22         28.    At the beginning of May of 2021, the Plaintiff received a series of pre-
23   recorded calls on his cell phone.
24
           29.    The pre-recorded messages advertised the need to renew an
25
26   apparently expiring warranty.
27
           30.    However, the company sending the messages was not identified.
28



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 1           31.   On May 21, 2021, the Plaintiff responded to the recorded message in
 2   order to identify the company sending the messages.
 3
             32.   The caller advertised the Defendant’s services.
 4
 5           33.   The caller then sent an e-mail promoting the Defendant’s services
 6
     from info@safeguardsolutions.com.
 7
 8           34.   That is a website owned and operated by the Defendant.
 9           35.   The Plaintiff did not provide his prior express written consent to
10
     SafeGuard Solutions to receive the call.
11
12           36.   Mr. McGowan received similar calls on March 5, 17, 19 and April 15,
13
     2021.
14
15           37.   Plaintiff and all members of the Class, defined below, have been
16   harmed by the acts of SafeGuard Solutions because their privacy has been violated,
17
     they were annoyed and harassed, and, in some instances, they were charged for
18
19   incoming calls. The calls occupied their cellular telephone lines, rendering them
20
     unavailable for legitimate communication.
21
22                       VI.CLASS ACTION ALLEGATIONS
23
             38.   Class Definition. Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3),
24
25   Plaintiff brings this case on behalf of the Classes (the “Classes”) defined as
26
     follows:
27
28



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 1            Pre-Recorded Call Class: All persons to whom: (a) SafeGuard
              Solutions and/or a third party acting on SafeGuard Solutions’ behalf
 2            made one or more non-emergency telephone calls; (b) to their cellular
 3            telephone numbers; (c) through the use of an artificial or prerecorded
              voice; (d) at any time in the last four years through the date of trial.
 4
 5            National Do Not Call Registry Class: All persons in the United States
 6            whose, (1) telephone numbers were on the National Do Not Call
              Registry for at least 30 days, (2) but received more than one telephone
 7            solicitation from or on behalf of Defendant (3) within a 12-month
 8            period, (4) from four years prior the filing of the Complaint.
 9
10            39.   Numerosity. The Classes are so numerous that joinder of all its
11   members is impracticable. On the basis of SafeGuard Solutions’ en masse calling
12
     practices, the Class has at least hundreds of members.
13
14            40.   Commonality. There are numerous questions of law and fact common
15
     to Plaintiff and members of the Classes. These common questions of law and fact
16
17   include, but are not limited to, the following:
18                  a.     Whether multiple telemarketing telephone calls were made
19
20   promoting the goods or services to members of the National Do Not Call Registry

21   Class;
22
                    b.     Whether SafeGuard Solutions used a prerecorded voice:
23
24                  c.     Whether SafeGuard Solutions purchased batches of leads of
25   prospects who had not consented to be called by it;
26
                    d.     Whether SafeGuard Solutions and/or its affiliates or agents,
27
28   and/or other persons or entities acting on SafeGuard Solutions’ behalf, knowingly


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 1   and/or willfully violated 47 U.S.C. § 227(b)(1)(A) by making any call, except for
 2   emergency purposes, to a cellular telephone number using an artificial or
 3
     prerecorded voice, thus entitling Plaintiff and the Class to treble damages;
 4
 5                e.    Whether SafeGuard Solutions and/or its affiliates, agents,
 6
     and/or other persons or entities acting on SafeGuard Solutions’ behalf should be
 7
 8   enjoined from using pre-recorded messages in the future.
 9         41.    Typicality. Plaintiff’s claims are typical of the claims of the Classes.
10
     Plaintiff’s claims and those of the Classes arise out of the same course of conduct
11
12   by SafeGuard Solutions and are based on the same legal and remedial theories.
13
           42.    Adequacy. Plaintiff will fairly and adequately protect the interests of
14
15   the Classes. Plaintiff has retained competent and capable counsel with experience
16   in TCPA and consumer class action litigation. Plaintiff and his counsel are
17
     committed to prosecuting this action vigorously on behalf of the Class and have the
18
19   financial resources to do so. Neither Plaintiff nor his counsel has interests contrary
20
     to or conflicting with those of the proposed Classes.
21
22         43.    Predominance. SafeGuard Solutions has engaged in a common course
23   of conduct toward Plaintiff and members of the Classes. The common issues
24
     arising from this conduct that affect Plaintiff and members of the Class
25
26   predominate over any individual issues. For example, the TCPA’s statutory
27
     damages obviate the need for mini-trials on actual damages. Adjudication of these
28



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 1    common issues in a single action has important and desirable advantages,
 2    including judicial economy.
 3
            44.    Superiority. A class action is the superior method for the fair and
 4
 5    efficient adjudication of this controversy. Classwide relief is essential to compel
 6
      SafeGuard Solutions to comply with the TCPA. The interest of individual
 7
 8    members of the Classes in individually controlling the prosecution of separate
 9    claims against SafeGuard Solutions is small because the damages in an individual
10
      action for violation of the TCPA are small. Management of these claims is likely
11
12    to present significantly fewer difficulties than are presented in many class actions
13
      because the calls at issue are all automated and because the TCPA articulates
14
15    bright-line standards for liability and damages.
16          45.    Injunctive and Declaratory Relief is Appropriate. SafeGuard Solutions
17
      has acted on grounds generally applicable to the Classes, thereby making final
18
19    injunctive relief and corresponding declaratory relief with respect to the Classes
20
      appropriate on a classwide basis.
21
22                          VII.FIRST CAUSE OF ACTION
23          (Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
                  227(b)(1)(A) on behalf of the Pre-Recorded Call Class)
24
25          46.    Plaintiff realleges and incorporates by reference each and every
26
      allegation set forth in the preceding paragraphs.
27
28



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 1          47.    The foregoing acts and omissions of SafeGuard Solutions and/or its
 2    affiliates or agents, and/or other persons or entities acting on SafeGuard Solutions’
 3
      behalf, constitute numerous and multiple violations of the TCPA, 47 U.S.C. §
 4
 5    227(b)(1)(A), by making non-emergency calls to the cellular telephone numbers of
 6
      Plaintiff and members of the Pre-Recorded Call Class using an artificial or
 7
 8    prerecorded voice.
 9          48.    As a result of violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by
10
      SafeGuard Solutions and/or its affiliates or agents and/or other persons or entities
11
12    acting on its behalf, Plaintiff and members of the Pre-Recorded Call Class are
13
      entitled to an award of $500 in damages for each and every call made to their
14
15    cellular telephone numbers using an artificial or prerecorded voice in violation of
16    the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).
17
            49.    Plaintiff and members of the Pre-Recorded Call Class are also entitled
18
19    to and do seek injunctive relief prohibiting SafeGuard Solutions, its affiliates and
20
      agents, and/or any other persons or entities acting on its behalf from violating the
21
22    TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls, except for emergency purposes,
23    to any cellular telephone numbers using an artificial or prerecorded voice.
24
            50.    As a result of knowing and/or willful violations of the TCPA, 47
25
26    U.S.C. § 227(b)(1)(A), by SafeGuard Solutions, its affiliates or agents, and/or other
27
      persons or entities acting on its behalf, Plaintiff and members of the Pre-Recorded
28



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 1    Call Class are entitled to treble damages of up to $1,500 for each and every call
 2    made to their cellular telephone numbers using an artificial or prerecorded voice in
 3
      violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
 4
 5
 6                                  SECOND CAUSE OF ACTION
 7                        Violation of the Telephone Consumer Protection Act
                           (47 U.S.C. 227, et seq. and 47 C.F.R. §§ 64.1200(c))
 8                        on behalf of the National Do Not Call Registry Class
 9
            51.    Plaintiff incorporates by reference the foregoing allegations as if fully
10
11    set forth herein.
12
            52.    Defendant violated the TCPA and the Regulations by making, or
13
14    having their agent make, two or more telemarketing calls within a 12-month period

15    on Defendant’s behalf to Plaintiff and the members of the National Do Not Call
16
      Registry Class while those persons’ phone numbers were registered on the
17
18    National Do Not Call Registry.
19
            53.    As a result of Defendant’s violations of 47 U.S.C. § 227 et seq.,
20
21    Plaintiff and National Do Not Call Registry Class members are entitled to an award

22    of up to $500 in statutory damages for each and every violation of the statute,
23
      pursuant to 47 U.S.C. § 227(c)(5).
24
25          54.    Plaintiff and Class Members are entitled to an award of treble
26
      damages if their actions are found to have been knowing or willful.
27
28



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 1           55.      Plaintiff and National Do Not Call Registry Class members are also
 2    entitled to and do seek injunctive relief prohibiting the Defendant from advertising
 3
      their goods or services, except for emergency purposes, to any number on the
 4
 5    National Do Not Call Registry in the future.
 6
 7
                             VIII.          PRAYER FOR RELIEF
 8
 9           WHEREFORE, Plaintiff, on his own behalf and on behalf of all members of
10    the Classes, prays for judgment against SafeGuard Solutions as follows:
11
             A.       Certification of the proposed Classes;
12
13           B.       Appointment of Plaintiff as representative of the Classes;
14
             C.       Appointment of the undersigned counsel as counsel for the Classes;
15
16           D.       A declaration that actions complained of herein by SafeGuard
17    Solutions and/or its affiliates, agents, or related entities violate the TCPA;
18
             E.       An order enjoining SafeGuard Solutions and its affiliates, agents and
19
20    related entities from using pre-recorded messages to call cellular telephones, absent
21
      emergency circumstances and prohibiting the Defendant from advertising their
22
23    goods or services, except for emergency purposes, to any number on the National
24    Do Not Call Registry in the future;
25
             F.       Leave to amend this Complaint to conform to the evidence presented
26
27    at trial; and
28



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 1            G.    Orders granting such other and further relief as the Court deems
 2    necessary, just and proper.
 3
                               IX.           DEMAND FOR JURY
 4
 5            Plaintiff demands a trial by jury for all issues so triable.
 6
 7
 8
              RESPECTFULLY SUBMITTED AND DATED this 30th day of June,
 9
      2021.
10
11
                                            By: _________________________________
12
13
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